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                         UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF PENNSYLVANIA

                                              :
In re:                                        :
                                              :       Chapter 11
                                              :
KOLESZAR FARM, LLC.                           :
                                              :
                                              :       Case No. 21-11653 (AMC)
                                       :
                                Debtor.       :




             ORDER DISMISSING CASE AND RETAINING JURISDICTION
                       AND GRANTING OTHER RELIEF

                AND NOW, to wit, this       4th      day of November, 2021, in consideration of

the United States Trustee’s Motion to Dismiss, and after hearing in open court, and for the

reasons stated on the record, it is

                ORDERED, that the Motion is GRANTED, and that this case is dismissed

pursuant to 11 U.S.C. § 1112(b),

                AND ORDERED that the parties shall have 60 days from the date hereof to file

a motion for sanctions against the Debtor and/or its counsel, and in the event thereof, this Court

shall retain jurisdiction to hear and determine any sch motions

                IT IS FURTHER ADJUDGED that the debtor is indebted to the United States
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Trustee in the sum of $250.00 for outstanding quarterly fees pursuant to 28 U.S.C. §

1930(a)(6).

                                                    BY THE COURT:




                                                    _____________________________
                                                    Honorable Ashely M. Chan
                                                    United States Bankruptcy Judge
